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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION

UNITED STATES OF AMERICA                                                   PLAINTIFF

Vs                         CASE NO. 4:10CR00270-11 BSM

SHEILA LANFAIR a/k/a Sheila Landfair                                     DEFENDANT


                              AMENDED JUDGMENT

      The Judgment entered on September 28, 2011 [Doc. No. 221] is amended to correct

a mistake. The term of supervised release of three (3) years is hereby removed.

      The remaining portions of the Judgment will remain in full force and effect. The

Clerk is directed to provide a copy of this order to the Financial Section of the Clerk’s

Office, United States Probation Office and the United States Marshals Office.

      IT IS SO ORDERED this 30th day of September, 2011.




                                                UNITED STATES DISTRICT JUDGE
